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NOR THERN DISTRICT OF TEXAS

FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS JUN 2 7 anoo

FORT WORTH DIVISION
CLERK U.S. D} STRICT COURT
UNITED STATES OF AMERICA By: ee
Deputy

Vv. No. 4:22-MJ-_469
DAVID DEVANEY, SR. (01)
CORY LITTS (02)

CRIMINAL COMPLAINT

 

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning in or before April 2022, and continuing until on or about June 25, 2022,
in the Fort Worth Division of the Northern District of Texas, and elsewhere, defendants
David Devaney, Sr. and Cory Litts along with others known and unknown, did
knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), namely to possess with
intent to distribute 500 grams or more of a mixture or substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance, in violation of 21
US.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(A)).

I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief.

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I. INTRODUCTION

1. I] have been a special agent of Homeland Security Investigations (HSI) for
approximately 15 years. J received basic investigative instruction at the Federal Law
Enforcement Training Center located in Glynco, Georgia, and additional continuing
instruction regarding investigative techniques. I am currently assigned to the HSI Dallas
North Texas Public Safety Task Force- Fort Worth working with investigators from other
federal law enforcement agencies as well as state, county, and municipal law enforcement
officers.

2 ] have participated as a law enforcement officer in several investigations of
unlawful narcotics distribution involving wiretaps, physical and electronic surveillances,
undercover transactions, the execution of search and arrest warrants, debriefings of
informants, and review of taped conversations, written conversations and drug records.
Through my training, education and experience, I have become familiar with the manner
in which illegal drugs are transported, stored and distributed, and the methods of
payments for such drugs. I am also familiar with some of the methods by which
narcotics traffickers communicate and code words commonly used by narcotics
traffickers.

2. This complaint does not contain all the information known to the investigation.
This complaint merely contains sufficient facts to establish probable cause for the

requested arrest warrants.

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The basis of the probable cause includes information personally known to the affiant as
well as information gleaned from police reports and conversations with other law

enforcement officers.

I. SUMMARY OF PROBABLE CAUSE THAT A VIOLATION OF 21 U.S.C. §
846 HAS OCCURRED

a As part of the conspiracy, not every person named or identified in the conspiracy
knew every other person identified as being in the conspiracy. It was their joining
together for the common purpose of possessing and distributing methamphetamine,

the nature of the scheme to possess and distribute methamphetamine, and the overlapping
among its members in possessing and distributing methamphetamine that established
their membership in this particular conspiracy. And not every member of the conspiracy
knew the details of each aspect of the conspiracy. Nevertheless, each member of the
conspiracy knew or was aware of the conspiracy’s general purpose and scope, which was
to possess and distribute methamphetamine in the Northern District of Texas and
elsewhere between and among the named conspirators and others not named.

5. As part of the conspiracy, its members had a fluid hierarchy that evolved over
time. For example, as some members were arrested or otherwise temporarily
unavailable, other members took over the receipt and delivery of methamphetamine.

6. Since approximately June 2022, law enforcement has been investigating
allegations DAVID DEVANEY, SR. and CORY LITTS, along with others, named and
not named, have conspired together to possess methamphetamine with the intent to

distribute it in the Northern District of Texas and elsewhere.

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te As part of the conspiracy, DAVID DEVANEY, SR. and CORY LITTS and
others agreed to possess methamphetamine with the intent to distribute it, and knowingly
and willfully participated in that agreement.

8. As part of the conspiracy, the common purpose between and among DAVID
DEVANEY, SR. and CORY LITTS along with others was to possess and distribute
methamphetamine in the Northern District of Texas and elsewhere.

9. As part of the conspiracy, in general, DAVID DEVANEY, SR. and CORY
LITTS and others distributed or brokered methamphetamine transactions between one
another and others.

10. As part of the conspiracy, its members routinely received and delivered quantities
of methamphetamine they then distributed to others in the Northern District of Texas and
elsewhere.

11. As part of the conspiracy, some of the money derived from the sale and
distribution of methamphetamine was used to purchase additional quantities of
methamphetamine.

Il. FACTS ESTABLISHING PROBABLE CAUSE THAT A VIOLATION OF 21
U.S.C. § 846 HAS OCCURRED

12. On June 2, 2022, Johnson County Stop the Offender Program (STOP) Investigator
Massey, STOP Investigator Riggs and the affiant interviewed a cooperating defendant at
the Johnson County Jail. The defendant’s attorney was also present. During the
interview, the cooperator identified David DEVANEY SR. as a methamphetamine

(meth) distributor who had previously provided the cooperator multi-ounce to one-half

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kilogram quantities of meth on several occasions. The cooperator identified DEVANEY
SR.’s phone number as XXX-XXX-0581 and DEVANEY SR.’s home address as XXX
E. Sheila Circle in the City of Joshua, Johnson County, Texas. Additionally, the
cooperator stated DEVANEY SR. usually drove a black Toyota Camry when
DEVANEY SR. transported the meth.

13. On the evening of June 2, 2022, STOP investigators conducted surveillance at the
residence listed in the above paragraph, XXX E. Sheila Circle. Investigator Massey
observed a dark-colored Toyota Camry displaying Texas license plate ‘PLD8843’. The
registration listed the owner of the Toyota as ‘David DEVANEY’. During the
surveillance, Investigator Massey also observed vehicle traffic consistent with the sale of
illegal drugs. Several vehicles arrived, a person or two people would go into the
residence, stay approximately thirty minutes, and then leave. STOP Commander Sparks
observed an individual with the same build as DEVANEY SR. exit the residence
carrying a dark-colored bag, similar to a duffle bag. Investigator Massey saw the person
put the bag in the passenger seat and then get into the driver seat of the Toyota Camry
and leave the residence.

14. On June 3, 2022, Investigator Massey searched Johnson County Jail phone calls
and observed several phone calls to the phone number XXX-XXX-0581. Investigator
Massey listened to a phone call from Inmate Michael Brian Colson to DEVANEY SR.
on May 1, 2022, at approximately 20:11 hours. During this phone call, DEVANEY SR.

said he took a portion of Percocet earlier by smoking it.

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In the last year, the affiant and STOP Investigators have participated in numerous
investigations related to ‘Percocet’ pills and have found these pills to be counterfeit,
containing fentanyl.

15. On June 21, 2022, STOP investigators deployed a surveillance camera to monitor
activity in front of DEVANEY SR.’s residence. During this surveillance, STOP
investigators observed numerous vehicles come and go from the residence. Some
vehicles arrived, stayed a short period of time, and then left.

16. On June 22, 2022, investigators conducted surveillance at DEVANEY SR.’s
residence, XXX E. Sheila Circle, Joshua, Texas. At approximately 18:49 hours,
Investigator Massey observed a dark-colored Dodge Ram pickup park in the street across
from DEVANEY’s house. A female exited the driver seat and went into the residence.
At approximately 19:33 hours, the same female walked out of the residence followed by
a white male. They both went to the pickup. The female got into the passenger seat and
the male got into the driver seat. Investigators Bartlett, Middleton, and Massey followed
the pickup. The male driver failed to signal a lane change and to signal a turn from W.
Kilpatrick Ave. onto southbound Granbury St. in Cleburne, Texas. Texas DPS Trooper
Yeager conducted a traffic stop on the vehicle near the intersection of Marengo and
Madison Streets in Cleburne.

17. Officers identified the driver as FJ Colson, who was arrested for driving with
suspended driver license. The female passenger was identified as T. F., who was
released. During an inventory of the vehicle, officers located a sandwich-sized clear

plastic zip-top style baggy was found inside of a Planter’s brand nuts container on the

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passenger side of the dashboard. The baggy contained a crystal substance consistent with
meth.

18. On June 22, 2022, at approximately 22:20 hours, Commander Sparks drove by
XXX E Sheila Circle and observed a Dodge pickup displaying Texas license plate
RT'N2515 parked at the residence. Commander Sparks checked the license plate through
the state computer system. The Dodge pickup registered to Cory LITTS at an address in
Bowie, Texas.

19. On June 24, 2022, at approximately 17:58 hours, Burleson Police Department
Dispatch received a 911 call reporting a reckless driver in the area of Wilshire Blvd. and
Interstate 35W. During the subsequent investigation, Burleson police officers determined
shots were fired during a suspected road rage incident. An individual was shot and killed
on Wilshire near the intersection of Hillery Street in Burleson. Further investigation by
Burleson officers discovered that a newer model black Toyota Camry was involved in the
incident. Surveillance camera images revealed the vehicle closely matched the
description of the black Toyota Camry registered to David DEVANEY.

20. Investigator Massey checked surveillance video from the camera at XXX E. Sheila
Circle and observed DEVANEY SR.’s black Toyota Camry left the residence at
approximately 15:30 hours on June 24, 2022. Images revealed a short male subject
driving the vehicle from the residence and wearing a light-colored shirt.

21. On June 24, 2022, at approximately 22:00 hours, Burleson police officers found
David DEVANEY’s black Toyota Camry, Texas license plate *‘PLD8843’, at the

Hampton Inn, 13251 Jake Ct. in Fort Worth, Texas.

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Burleson officers and STOP investigators conducted surveillance on the vehicle. An
unidentified individual came out and drove the vehicle from the hotel a short time later.
Surveillance units were unable to follow the vehicle and lost sight of it east of Burleson
in unincorporated Johnson County. Investigator Massey conducted surveillance on XXX
E. Sheila Circle from approximately 23:00 hours until 03:00 hours and did not observe
anyone come or go from the residence.

22. On June 25, 2022, at approximately 09:26 Commander Sparks received
information from the desk clerk at the Hampton Inn hotel. The desk clerk told
Commander Sparks a female who had rented hotel room # 202 had called in and said her
boyfriend, David DEVANEY, had forgotten some items in the hotel room and asked that
he be allowed into the room to get those items. As the desk clerk was taking the call, a
male subject came in the main lobby and told the desk clerk his name was David
DEVANEY. The desk clerk gave DEVANEY, SR. a key card for the room and
DEVANEY, SR. went upstairs. Commander Sparks, Investigator Massey, Burleson
police officers, and the affiant responded to the Hampton Inn at approximately 10:15
hours. Burleson SRT officers staged behind the hotel. Commander Sparks, Investigator
Massey and the affiant made their way to the lobby area. Investigator Massey observed a
male resembling DAVID DEVANEY SR., another male, and a female come out of the
elevator into the lobby. Both males were carrying items. As the three subjects walked out
the front door of the hotel, the female turned right, and the two males turned left. Sparks,
Massey, and the affiant followed the two males as they walked west through the hotel

parking lot.

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One male was carrying a box, which had an alcoholic beverage label on the box. The
other male was carrying a small, zippered bag consistent with a shower or shave kit. The
two males walked to a dark-colored Dodge pickup bearing Texas license plate
‘RTN2515’.

23. As the two males began to get into the Dodge pickup, Commander Sparks and
Investigator Massey made contact with the male on the driver’s side, subsequently
identified as Cory LITTS. LITTS put the box with alcohol beverage label down on the
ground and got into the pickup, sitting in the driver seat and began to reach behind him as
if he were reaching for something. Commander Sparks and Investigator Massey removed
him from the vehicle and frisked him for weapons. As Investigator Massey was running
his hands down the outside of the driver’s clothing, Investigator Massey could clearly
feel a plastic baggy which was lumpy, consistent with the feel of a bag of
methamphetamine. There was also a hard object behind it. Investigator Massey stopped
to look at the corner of the pocket and observed the pocket was slightly open from all of
the objects in it. Through the opening Investigator Massey observed a sandwich-sized
baggy containing crystal substance Investigator Massey recognized as methamphetamine.
Investigator Massey removed the baggy and the hard object. The hard object was a
digital scale. Investigator Massey then conducted a probable cause search of LITTS?
person. Investigator Massey located some cash and a wallet with a State of Texas photo

identification card bearing the name Cory LITTS.

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24. Investigator Massey also conducted a probable cause search of the alcoholic
beverage box LITTS was carrying. As Investigator Massey opened the top flaps of the
box, Investigator Massey immediately observed a one-gallon plastic zip-top style baggy
containing methamphetamine in the box. Investigator Massey lifted the baggie up and
observed a Sig Sauer brand pistol] underneath the methamphetamine. Investigator
Massey did not manipulate the firearm in case it was the one used in the shooting
described above. LITTS was secured in handcuffs behind his back. Investigators later
determined the Sig Sauer to be a 9mm.

25. | While Commander Sparks and Investigator Massey made contact with LITTS, the
affiant approached the male, who resembled David DEVANEY Sr., on the passenger
side of the truck. Burleson Sergeant Adams joined the affiant as these events were
unfolding. The affiant saw David DEVANEY SR. throw the zippered shaving kitbag
into some bushes in front of the vehicle parked next to the Dodge truck as the affiant
approached him. The affiant asked the subject to identify himself. The subject stated his
name as David DEVANEY. The affiant observed a noticeable bulge under DEVANEY
SR.’s shirt in the front, waistband area, and frisked DEVANEY SR. for weapons. The
affiant removed a pistol from DEVANEY SR.’s waistband in the exact spot where the
bulge had been visible. The pistol was a .40-caliber Smith and Wesson with a laser
aiming device. Sergeant Adams and the affiant placed DEVANEY SR. in handcuffs.

The affiant recovered the shaving kit he saw DEVANEY SR. throw on the ground.

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The affiant unzipped the bag and found it was packed full of clear plastic baggies
containing methamphetamine. There was a substantial amount of U.S. currency in the
bottom of the bag under the methamphetamine.

26. Investigator Massey and the affiant conducted a probable cause search of LITTS’
Dodge pickup and found items consistent with the sale and consumption of
methamphetamine. These items included a digital scale and glass pipe with suspected
methamphetamine residue in it. We also found a business card for a State of Texas
District Parole Officer with a handwritten appointment date for July 5, 2022. The affiant
located two small boxes magnetically attached to the undercarriage of the truck. The
affiant knows this type of box is commonly used to hide illegal drugs during transport.
The Dodge pickup was impounded. Investigator Massey collected the drug and gun
exhibits as evidence and transported them to the Burleson Police Department to store
temporarily until they could be processed.

27. A Burleson police officer transported LITTS and DEVANEY SR. from the
Hampton Inn to the Burleson Police Department. After the transport, a review of the in-
car video revealed DEVANEY SR. removed an item from his clothing and placed it in
the floorboard. Officers searched the vehicle and located a bag containing a small
quantity of suspected cocaine and suspected counterfeit Percocets.

28. At the Burleson Police Department, the affiant field-tested and weighed the
methamphetamine seized from LITTS and DEVANEY SR. The plastic baggy from
LITTS*’ front right shorts pocket tested positive for methamphetamine and weighed

approximately 115.60 grams.

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The baggy and methamphetamine from the alcoholic beverage box LITTS was carrying
field tested positive for methamphetamine and weighed approximately 753.70 grams.
The baggies of methamphetamine DEVANEY SR. was carrying in the zippered shaving
kit bag tested positive for methamphetamine and weighed approximately 1279.60 grams.
The approximate total weight of methamphetamine is 2148.90 grams.

29. During a post-Miranda, recorded interview, LITTS gave consent for investigators
to search his cell phone. In LITTS’s phone, the affiant located a series of drug-related
text messages. For example, one message sent from LITTS’ phone reads, ‘300 for this
zip’. The affiant knows the term ‘zip’ is commonly used to refer to one-ounce quantities
of illegal drugs. $300 is consistent with the current price of one ounce of
methamphetamine. Another message sent from LITTS’ phone on June 24, reads “Say
get this last zip from me for 300 so I ca head out’.

30. David Devaney Jr., the son of David DEVANEY SR., was also arrested on June
25, 2022, on a charge related to the shooting mentioned above. During a post-Miranda,
recorded interview, he told Commander Sparks he had seen methamphetamine at his
father’s residence, XXX E. Sheila Cir, as recently as last June 23, 2022. David Devaney
Jr. estimated the quantity of drugs he saw at his father’s house as more than one kilogram
but less than five kilograms.

31. On the evening of June 25, 2022, Investigator Massey obtained a search warrant
for DEVANEY SR.’s residence, XXX E. Sheila Cir. Investigators executed the warrant
shortly thereafter. During the search, investigators located and seized approximately

1257.9 grams of methamphetamine, several pounds of marijuana, approximately nine

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firearms, two suspected drug ledgers, a bank card bearing the name ‘FJ Colson’ and other

evidence.

32. — Late on June 25, 2022, investigators located and searched the black Toyota Camry
bearing Texas license plate ‘PLD8843’. Investigators located both 9mm and .40-caliber

shell casings inside the vehicle.

33. At the time this complaint was drafted, DAVID DEVANEY, SR., David
Devaney, Jr., and two others have been charged with aggravated assault with a deadly
weapon in Johnson County, Texas related to the shooting mentioned above. Investigation

indicates the shooting was the result of a drug-deal gone bad, and the person killed was

an innocent passerby.

[Continued on next page]

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34. Based on the foregoing, the complainant believes that probable cause exists that
DAVID DEVANEY, SR. and CORY LITTS along with others both known and
unknown, did knowingly and intentionally combine, conspire, confederate, and agree to
engage in conduct in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A), namely to
distribute and to possess with intent to distribute more than 500 grams of

methamphetamine, in violation of 21 U.S.C. § 846.

Mike McCurdy
Special Agent
Homeland Security Investigations

 

SWORN AND SUBSCRIBED before me on this teil TH day of June, 2022.
LRUe_ & am/pm?i in Fort Worth, Texas.

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HALR.RAY,JR. / /[
UNITED STATES MAGISTRATE JUDGE

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